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                          UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

 JANE DOE, et al.                                   Civil Action No.: 1:20 – CV – 0840
                                                    (BKS/CFH)
                Plaintiffs,

                        vs.

 HOWARD ZUCKER, et al.

                Defendants.




            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) Plaintiff Jane Koe, on behalf of
herself and her minor children, by and through undersigned counsel, hereby gives notice of their
voluntary withdrawal as a named representative of this putative class action suit dismissal of her
case without prejudice. All claims against the Shenendehowa School District defendants and
any claims specific to this named plaintiff against the state level officials are voluntarily hereby
dismissed and a revised proposed amended complaint is attached hereto accordingly.
Defendants have not answered or moved for summary judgment.
Dated: October 26, 2020                           Respectfully submitted,
         Ithaca, New York                         By: Sujata S. Gibson
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                                                  Attorneys for Plaintifff Jane Koe
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                                   PROOF OF SERVICE
       I hereby certify that a true and correct copy of Notice of the foregoing Voluntary
Dismissal, letter and new proposed amended complaint was served by ECF on October 26,
2020, on all counsel or parties of record in this matter.




                                                Sujata S. Gibson
                                                _____________________________
                                                Sujata S. Gibson



                                      SERVICE LIST


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